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                            UNITED STATES DISTRICT COURT 
                               DISTRICT OF MINNESOTA 
     

    NANCY MURRAY, individually and as                    Case No. 18‐CV‐02510 (NEB/LIB) 
    Independent Executor of the Estate of                                
    STEVEN MARK MURRAY, deceased,                                        
                                                                         
                      Plaintiff,                       ORDER ON DEFENDANT’S MOTION 
                                                                   TO DISMISS 
    v. 
     
    CIRRUS DESIGN CORPORATION, d/b/a 
    CIRRUS AIRCRAFT, a corporation, 
     
                      Defendant. 
     
          
         In  this  products  liability  case  resulting  from  a  fatal  airplane  crash,  Defendant 

Cirrus Design Corporation (“Cirrus”) argues that Plaintiff Nancy Murray, the executor 

of  her  husband’s  estate,  lacks  standing  because  she  was  not  appointed  as  a  trustee  to 

bring the action, which is required under Minnesota law. Murray does not dispute that 

she was not appointed a trustee, but argues that Texas law, not Minnesota law, governs 

the case, and Texas law contains no trustee appointment requirement. For the reasons 

stated below, the Court agrees that Texas law applies and denies the motion to dismiss. 

                                            BACKGROUND 

         In  August  2015,  Steven  Mark  Murray  was  piloting  a  Cirrus  SR22  aircraft  from 

Illinois to Arkansas, when the aircraft experienced mechanical difficulties and crashed in 

Kewanee, Illinois. [ECF No. 1 (“Compl.”) at ¶¶3, 6.] Murray sustained fatal injuries in the 


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crash. (Id.) Murray’s wife, Nancy Murray, brought this suit in her individual capacity and 

as the court–appointed Independent Executor of the Estate of Steven Mark Murray. (Id., 

¶1.) Nancy Murray (“Murray”) is, and Steven Murray was, a resident of Texas. (Id., ¶1.) 

Defendant Cirrus is incorporated in Wisconsin and has its principal place of business in 

Minnesota.  (Id.)  Murray  asserts  four  claims  against  Cirrus,  alleging  the  aircraft  was 

defectively designed and negligently designed, manufactured, assembled, and sold. (See 

generally id.) The Complaint alleges the wrongful death of Steven Murray, stating “[h]ad 

Decedent survived, he would have been entitled to bring an action for damages, and such 

action has survived him.” (Id., ¶7.)  

       Cirrus  argues  that  Murray  failed  to  petition  this  Court  or  any  other  court  to 

appoint her as trustee to bring this action, as required by Minn. Stat. § 573.02, or that she 

was so appointed before filing the Complaint. Minnesota law requires this appointment 

prior to the filing of a wrongful death suit: 

      When  death  is  caused  by  the  wrongful  act  or  omission  of  any  person  or 
      corporation,  the  trustee  appointed  as  provided  in  subdivision  3  may 
      maintain  an  action  therefor  if  the  decedent  might  have  maintained  an 
      action, had the decedent lived, for an injury caused by the wrongful act or 
      omission. 
       
      … 
       
      Any other action under this section may be commenced within three years 
      after the date of death… 
       
Minn. Stat. § 573.02, subd. 1. The statute also provides the procedure for appointing the 

required trustee: 


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      Upon written petition by the surviving spouse or one of the next of kin, the 
      court  having  jurisdiction  of  an  action  falling  within  the  provisions  of 
      subdivisions 1 or 2, shall appoint a suitable and competent person as trustee 
      to  commence  or  continue  such  action  and  obtain  recovery  of  damages 
      therein.  The  trustee,  before  commencing  duties  shall  file  a  consent  and 
      oath…. 
       
Minn. Stat. § 573.02, subd. 3. Maintaining a wrongful death action under Minnesota law 

thus requires the surviving spouse or next of kin to petition the court within three years 

of the decedent’s death so that the court can appoint the trustee. Id.  

       Murray  does  not  deny  that  she  has  not  been  and  cannot  now  be  properly 

appointed as trustee under Minn. Stat. § 573.02. Rather, she asserts that Texas’s wrongful 

death statute governs the claims under Minnesota’s choice of law analysis, and Texas law 

has  no  such  trustee  appointment  requirement.  Under  Texas’s  wrongful  death  statute, 

“[a]n action for actual damages arising from an injury that causes an individual’s death 

may  be  brought  if  liability  exists  under  this  section.”  Tex.  Civ.  Prac.  &  Rem.  Code 

§ 71.002(a). The statute sets forth the persons who may benefit from and bring a wrongful 

death action: 

       (a) An action to recover damages as provided by this subchapter is for the 
       exclusive  benefit  of  the  surviving  spouse,  children,  and  parents  of  the 
       deceased. 
       (b) The surviving spouse, children, and parents of the deceased may bring 
       the action or one or more of those individuals may bring the action for the 
       benefit of all. 
       (c)  If  none  of  the  individuals  entitled  to  bring  an  action  have  begun  the 
       action  within  three  calendar  months  after  the  death  of  the  injured 
       individual,  his  executor  or  administrator  shall  bring  and  prosecute  the 
       action unless requested not to by all those individuals. 
        


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Tex.  Civ.  Prac.  &  Rem.  Code  §  71.004.  Thus,  under  Texas  law,  Plaintiff  may  bring  a 

wrongful death lawsuit because she is the surviving spouse of the decedent and is the 

duly appointed independent executor of decedent’s estate.  

    I.      STANDARD OF REVIEW 
 
         Rule  12(b)(6)  of  the  Federal  Rules  of  Civil  Procedure  provides  that  a  defendant 

may move to dismiss a claim if, on the pleadings, a party has failed to state a claim upon 

which relief may be granted. In reviewing a motion to dismiss under Rule 12(b)(6), the 

Court must accept as true all factual allegations and view them in the light most favorable 

to the plaintiff. Schaller Tel. Co. v. Golden Sky Sys., Inc., 298 F.3d 736, 740 (8th Cir. 2002). 

When “addressing a motion to dismiss, the court may consider the pleadings themselves, 

materials embraced by the pleadings, exhibits attached to the pleadings, and matters of 

public record.” Mulvenon v. Greenwood, 643 F.3d 653, 656–57 (8th Cir. 2011) (quotation and 

citation omitted). 

         Here, the sole issue for the Court to determine is whether the Complaint must be 

dismissed for lack of standing due to Murray’s failure to seek appointment as a trustee 

under the Minnesota statute. If Minnesota law governs, Murray does not have standing 

to bring the suit. If Texas law governs, Murray may bring this suit, because Texas law has 

no trustee appointment requirement.  

 

 



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       II.       CHOICE OF LAW 
                   
              To  determine  the  state  law  governing  Murray’s  claims,  the  Court  applies 

Minnesota’s choice of law rules. Whitney v. Guys, Inc., 700 F.3d 1118, 1123 (8th Cir. 2012). 

Minnesota’s three–step analysis first inquires whether the different states’ laws actually 

present a conflict—that is, if the choice of law is outcome–determinative. Id. Second, the 

Court must consider “whether the different states’ laws constitutionally may be applied 

to  the  case  at  hand.”  Id.  (citation  omitted).  Appling  a  state’s  law  is  constitutionally 

permissible where “that State [ ] ha[s] a significant contact or significant aggregation of 

contacts,  creating  state  interests,  such  that  choice  of  its  law  is  neither  arbitrary  nor 

fundamentally unfair.” Jepson v. Gen. Cas. Co. of Wisconsin, 513 N.W.2d 467, 469–70 (Minn. 

1994) (citing Allstate Ins. Co. v. Hague, 449 U.S. 302, 312‐13 (1981)). Third, the following 

factors must be considered: (1) predictability of result; (2) maintenance of interstate and 

international order; (3) simplification of the judicial task; (4) advancement of the forumʹs 

governmental interest; and (5) application of the better rule of law. Milkovich v. Saari, 203 

N.W.2d 408, 412 (Minn. 1973). 

              Here,  the  parties  agree  that  the  choice  between  the  wrongful  death  statutes  of 

Minnesota  and  Texas  is  outcome–determinative.1  Although  not  raised  by  either  party, 


                                                            
1 Cirrus initially argues in its reply brief that the differences between the two statutes do 
not  create  a  material  conflict  because  Murray  failed  to  meet  both  states’  statute  of 
limitations  and  thus  Murray’s  claims  are  time–bared  as  a  matter  of  law.  [ECF  No.  18 
(“Def.’s Reply Br.”) at 4.] However, as noted at oral argument, the Court will not address 


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either  state’s  law  may  be  constitutionally  applied  as  both  Minnesota  and  Texas  have 

sufficient contacts to the claims at issue. The parties also agree that the first, third, and 

fifth factors are not determinative in this case. The focus, therefore, is on the second and 

fourth  factors—maintenance  of  interstate  order  and  advancement  of  the  forum’s 

governmental interest. 

       A.        Maintenance of interstate order 
                  
              The second factor, maintenance of interstate order, is “primarily concerned with 

whether  the  application  of  Minnesota  law  would  manifest  disrespect  for  [Texas’s] 

sovereignty or impede the interstate movement of people and goods.” Jepson, 513 at 471. 

“This  factor  is  relevant  in  tort  suits  where  there  is  evidence  of  forum  shopping  and 

Minnesota has only a remote connection to the claim.” Blake Marine Grp. v. CarVal Invʹrs 

LLC, 829 F.3d 592, 596 (8th Cir. 2016) (citation and quotation omitted). This factor weighs 

in favor of the state with the most significant contacts with the relevant facts. Hughes v. 

Wal‐Mart Stores, Inc., 250 F.3d 618, 620 (8th Cir. 2001).  

              This is not a case of forum shopping, as Murray is encouraging the application of 

Texas law and not the forum state’s law. The parties disagree, however, on which state 

has more significant contacts. Considering only the facts as alleged in the Complaint, the 

contacts at issue are that Murray is and her husband was a resident of Texas, and Cirrus’s 


                                                            
the statute of limitations argument in this motion because it has not been fully addressed 
by the parties and would be the subject of a separate motion. 


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principal  place  of  business  is  in  Minnesota.  The  contacts  are  limited  to  the  parties’ 

domicile and thus neither state has a more significant interest. See Blake Marine Grp, 829 

F.3d  at  596  (concluding  the  second  factor  was  neutral  when  the  alleged  tortious 

interference occurred and a defendant was based in Minnesota, but the plaintiff resided 

in and the injury occurred in Alabama); Hughes, 250 F.3d at 621 (providing that the state 

where the plaintiff lived and the accident occurred had more significant contact than the 

state  where  the  defendant  was  headquartered).  This  factor,  therefore,  favors  neither 

state’s law. 

    B.      Advancement of the forum’s governmental interest 
 
         The fourth factor prevents Minnesota courts from applying a rule of law that is 

inconsistent with Minnesota’s concepts of fairness and equity. Schmelzle v. ALZA Corp., 

561 F. Supp. 2d 1046, 1049 (D. Minn. 2008). It “requires analysis not only of Minnesota’s 

governmental interest, but also of [Texas’s] public policy.” Blake Marine Grp., 829 F.3d at 

596 (citation and quotation omitted). Cirrus argues Minnesota has a strong interest in the 

application of its own wrongful death statute to its resident defendant and in enforcing 

the conscious limits of the wrongful death statute. (Def.’s Reply Br. at 8.) But the Eighth 

Circuit  has  rejected  this  argument.  See  Blake  Marine  Grp.,  829  F.3d  at  596  (citing  and 

quoting  Hughes,  250  F.2d  at  631)  (finding  “that  a  forum  state’s  ‘interest  in  having  its 

product  liability  laws  enforced  against  its  own  corporate  residents’  did  not  support 

application of its law in that case, in which the plaintiff was a nonresident.”)  



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              In  contrast,  both  states  have  an  interest  in  compensating  tort  victims  and 

“compensation  of  an  injured  plaintiff  is  primarily  a  concern  of  the  state  in  which  the 

plaintiff is domiciled.” Blake Marine Grp., 829 F.3d at 596 (citation omitted). As in Blake, 

this  Court  “fail[s]  to  see  how  any  important  Minnesota  governmental  interest  is 

significantly furthered” by employing Minnesota law for injuries that occurred in another 

state  to  a  nonresident.  Id.  (citation  omitted).  Rather,  Texas’s  interest  in  compensating 

Murray, a Texas resident, outweighs Minnesota’s interest and favors applying Texas law. 

Id.; see also Schmelzle, 561 F. Supp. 2d at 1050 (concluding that Wyoming had a stronger 

interest than Minnesota in the applying its own wrongful death statute when the contacts 

to Minnesota were limited to defendants’ facility in Minnesota). Application of this factor 

favors  Texas  law,  and  thus  the  choice  of  law  analysis  as  a  whole  favors  Texas  law. 

Therefore, Plaintiff was not required to be appointed as trustee under Minn. Stat. § 573.02 

and has standing under Texas law to bring this action.2 Thus, the motion to dismiss must 

be denied. 

IT IS SO ORDERED. 

Dated:  March 7, 2019                                                       BY THE COURT: 
 
                                                                            s/Nancy E. Brasel                
                                                                            Nancy E. Brasel 
                                                                            United States District Judge 

                                                            
2 Because the Court finds Texas law applies, the Court need not reach the issue of whether 
appointment of a trustee is a condition precedent  to bringing a  wrongful  death  action 
under Minn. Stat. 573.02 and whether the federal probate exception applies. 


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